                              REVERSE the judgment on the pleadings AND REMAND this
                  matter to the district court for further proceedings consistent with this
                  order.



                                                                 i c, „Ft
                                                              Hardesty
                                                                            ,te;         ,   J.



                                                                                             J.



                  CHERRY, J., concurring:
                               For the reasons stated in the SFR Investments Pool 1, LLC v.
                  U.S. Bank, N.A.,   130 Nev. 334 P.3d 408 (2014), dissent, I disagree
                  that respondent lost its lien priority by virtue of the homeowners
                  association's nonjudicial foreclosure sale. I recognize, however, that SFR
                  Investments is now the controlling law and, thusly, concur in the
                  disposition of this appeal.

                                                                   Ck                        J.
                                                              Cherry



                  cc: Hon. Jerry A. Wiese, District Judge
                       Law Offices of Michael F. Bohn, Ltd.
                       Smith Larsen &amp; Wixom
                       Eighth District Court Clerk




SUPREME COURT
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